USDC IN/ND case 3:20-cv-00960-DRL-MGG document 31 filed 02/19/21 page 1 of 5


                           UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF INDIANA
                               SOUTH BEND DIVISION


FEDERATED MUTUAL INSURANCE               )
COMPANY, as subrogee of BELLMAN OIL CO., )
and B & B TRANSPORT, INC.,               )
                                         )
                    Plaintiff,           )
                                         ) CASE NO.: 3:20-cv-00960-DRL-MGG
       vs.                               )
                                         )
KOSCIUSKO COUNTY, INDIANA,               )
KOSCIUSKO COUNTY HIGHWAY                 )
DEPARTMENT, and PHEND & BROWN, INC., )
                                         )
                    Defendants.          )
PHEND & BROWN, INC.,                     )
                                         )
             Counterclaim Plaintiff,     )
                                         )
       vs.                               )
                                         )
BELLMAN OIL COMPANY, INC., and B&B       )
TRANSPORT, INC.,                         )
                                         )
       Counterclaim Defendants,          )

DEFENDANT/COUNTERCLAIM PLAINTIFF PHEND & BROWN, INC.’S RESPONSE
  TO FEDERATED MUTUAL INSURANCE COMPANY’S MOTION TO STRIKE

       Defendant/Counterclaim Plaintiff, Phend & Brown, Inc., (hereinafter “Phend”), per N.E.

Ind. L.R. 7-1(d) and (e), respectfully submits its Response to Federated Mutual Insurance

Company’s Motion to Strike. In support of said Response, Phend states as follows:

   1. Federated Mutual Insurance Company, as subrogee of Bellman Oil Company, Inc., and

       B&B Transport, Inc. (hereinafter “Federated Mutual”), filed its Complaint against Phend

       on or about November 13, 2020. (See Filing 1, at ¶ 4).
USDC IN/ND case 3:20-cv-00960-DRL-MGG document 31 filed 02/19/21 page 2 of 5


    2. Phend filed its Answer to Federated Mutual’s Complaint on January 7, 2021. (See Filing

        21).

    3. On or about January 20, 2021, Phend filed Defendant Phend & Brown’s Amended

        Answer to Plaintiff’s Complaint and Counterclaim (hereinafter “Counterclaim”). (See

        Filing 26).

    4. Twenty-one (21) days later, on February 10, 2021, Federated Mutual filed Federated

        Mutual Insurance Company’s Motion to Strike Phend & Brown, Inc.’s Counterclaim

        within Its Amended Answer (hereinafter “Motion to Strike”). (See filing 28).

    5. Federated Mutual’s Motion to Strike is grounded in Federal Rule of Civil Procedure

        12(f). (See Id.)1

    6. Per Rule 12(f), “[t]he Court may strike from a pleading an insufficient defense or any

        redundant, immaterial, important, or scandalous matter.” Fed. R. Civ. P. 12.

    7. Federated Mutual claims grounds to strike Phend’s Counterclaim because Phend waged

        the same against Bellman Oil Co., Inc. (hereinafter “Bellman”) and B & B Transport, Inc.

        (hereinafter “B & B Transport”), naming each entity directly. (See Filing 29, ¶¶ 5-6).

    8. This argument is futile, as Federated Mutual is the subrogee of Bellman and B & B

        Transport, both of which are specifically named in the caption with Federated Mutual.

    9. Regardless of the circumstance or theory of recovery, one who acquires or succeeds to

        rights, claims, or securities through subrogation “steps into the shoes” of the subrogor

        and takes them burdened with the defenses, limitations, and disqualifications to which

        they are subject. See Bank of New York v. Nally, 820 N.E.2d 644, 652 (Ind. Ct. App.




1
 The Motion to Strike also lists Federal Rule of Civil Procedure 13; however, the language of that Rule does not
pertain to a defense or objection that would substantiate a motion to strike.

                                                         2
USDC IN/ND case 3:20-cv-00960-DRL-MGG document 31 filed 02/19/21 page 3 of 5


      2005) (citing 83 C.J.S. Subrogation § 66 (2000)); see also In re Frescati Shipping

      Company, LTD., 886 F.3d 291, 309 (3rd Cir. 2018).

   10. “The subrogee, having stepped into the shoes of the subrogor, is entitled to assert all of

      the subrogor’s rights and claims against the responsible third party. Likewise, the third

      party—now defending an action brought by the subrogee—is entitled to assert every

      defense it otherwise could have raised against the subrogor.” In re Frescati Shipping

      Company, LTD., 886 F.3d at 309.

   11. A third-party’s liability cannot be greater than it would have been to the subrogor. Id.

      (citing Restatement (Third) of Restitution & Unjust Enrichment § 24).

   12. Phend does not have a specific claim against Federated Mutual. Its theory of recovery is

      against the subrogor, Bellman and B & B Transport, whose rights and responsibilities

      Federated Mutual assumed.

   13. In particular, Bellman and B & B Transport are liable for the acts or omissions of Roger

      L. Reeder, per the doctrine of respondeat superior. (See Filing 26, ¶¶ 1-3).

   14. Therefore, the fact Phend did not specifically name Federated Mutual is a misguided

      position, as Bellman and B & B Transport are the reason for the Counterclaim. As the

      subrogee of said interested parties, any liability for the Counterclaim is affixed to and

      asserted against Federated Mutual, based on the Plaintiff/Counterclaim Defendant’s

      assumption of Bellman and B & B Transport’s rights. Federated Mutual has “stepped into

      the shoes” of Bellman and B & B Transport.

   15. Moreover, Federated Mutual raises an objection based on Federal Rule of Civil

      Procedure (8)(a)(1). This court’s jurisdiction has already been established in this case;




                                               3
USDC IN/ND case 3:20-cv-00960-DRL-MGG document 31 filed 02/19/21 page 4 of 5


       therefore, a “short and plain statement of the grounds for the court’s jurisdiction” appears

       redundant and unnecessary.

   WHEREFORE, Federated Mutual’s Motion to Strike lacks merit and must be denied by this

Court, and for all other relief just and proper.



                                       Respectfully submitted,

                                       SCHULTZ & POGUE, LLP



                                       By:     /s/ Thomas R. Schultz
                                               Thomas R. Schultz, #11670-49
                                               tschultz@schultzpoguelaw.com
                                               Jon L. Bucher, #32525-49
                                               Jbucher@schultzpoguelaw.com
                                               520 Indiana Avenue
                                               Indianapolis, IN 46202
                                               Attorneys for Defendant/ Counterclaim Plaintiff
                                               Phend & Brown, Inc.




                                                   4
USDC IN/ND case 3:20-cv-00960-DRL-MGG document 31 filed 02/19/21 page 5 of 5


                               CERTIFICATE OF SERVICE

        I hereby certify that on February 19, 2021, a copy of the foregoing was filed
electronically. Notice of this filing will be sent to the following parties by operation of the
Court's CM/ECF system.

Daniel J. Curtin
Danny Merrill Newman, Jr.
REMINGER CO, LPA
2100 N. Main Street, #202
Crown Point, IN 46307

James S. Stephenson
Joseph M. Hendel
STEPHENSON MOROW & SEMLER
3077 East 98th St., Suite 240
Indianapolis, IN 46280



                                                   /s/ Thomas R. Schultz


SCHULTZ & POGUE, LLP
520 Indiana Avenue
Indianapolis, IN 46202
317-262-1000
Fax: 317-262-9000
tschultz@schultzpoguelaw.com




                                              5
